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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                                     CASE NO.: 14-cv-80809-JIC

 AR2, LLC, a Florida limited liability
 Company, d/b/a LIV INSTITUTE,

        Plaintiff,
 v.

 ANDREW RUDNICK, an individual,

        Defendant.
                                              /

                                   JOINT STATUS REPORT

        Pursuant to this Court’s Order Staying Action [DE 69], requiring the parties to submit a

 quarterly status report if no motion to reopen has been filed, the undersigned respectfully reports

 as follows:

        1.      On December 22, 2014, Defendant, ANDREW RUDNICK (“ANDREW”) and

 ANDREW’s Wife/Co-Debtor, Catherine Rudnick, filed a voluntary Chapter 7 Bankruptcy

 Petition in the Southern District of Florida, under Case No.: #: 14-37761-EPK.

        2.      The Section 341 Meeting of Creditors (the “341 Meeting”) was originally

 scheduled on January 26, 2015, but re-scheduled to February 17, 2015.

        3.      On June 19, 2015, AR2, LLC (“AR2”) timely filed its Proof of Claim, but will be

 amending same upon completion of gathering additional supporting documentation.

        4.      On June 1, 2015 Trustee filed a Motion for Approval of Stipulation as to Debtor
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                                                                                    AR2, LLC v. Rudnick
                                                                              Case No.: 14-cv-80809-JIC
                                                                         ______________________


 Andrew Jay Rudnick's Waiver and Consent to Denial of Discharge, and on July 7, 2015, Trustee’s

 Motion was granted.

          Respectfully submitted on this 18th day of August, 2015,

 The DuBosar Law Group, PA                          Pincus & Currier, LLP
 Attorneys for Plaintiff                            Attorneys for Defendant
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 By:      /s/ Robert C. Sheres                      By:       /s/ Romin N. Currier
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 18th day of August, 2015 I electronically filed the

 foregoing with the Clerk of Court by using the CM/ECF system and a true and correct copy of

 the foregoing was served on the parties registered to receive notice via CM/ECF.

                                                      The DuBosar Law Group, PA
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                                              By:     /s/ Robert C. Sheres
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